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                        IN THE UNITED STATES DISTRICT COURT FOR
                           THE SOUTHERN DISTRICT OF GEORGIA
                                    AUGUSTA DIVISION

 LAURA COLAFRANCESCO and FRANK
 ANTHONY COLAFRANCESCO,
                                                    Civil Action No.
          Plaintiffs,

 v.
                                                    JURY TRIAL DEMANDED
 KEY FIRE PROTECTION ENTERPRISES,
 LLC and GREGG KEY,

        Defendants.


                                         COMPLAINT

       Plaintiffs Laura Colafrancesco (“Mrs. Colafrancesco”) and Frank Colafrancesco

(“Mr. Colafrancesco,” and collectively with Mrs. Colafrancesco, “Plaintiffs”) bring this action

against Defendants Key Fire Protection Enterprises, LLC (“Key Fire Protection”) and Gregg Key

(collectively, “Defendants”). Mrs. Colafrancesco brings a claim against Defendants under the Fair

Labor Standards Act of 1938, 29 U.S.C. §§ 201 et seq. (the “FLSA”), for unpaid overtime wages,

liquidated damages, interest, and attorneys’ fees and costs. Mrs. Colafrancesco also asserts claims

against Defendant Key Fire Protection under Georgia law for breach of contract, and, in the

alternative, quantum meruit, promissory estoppel, and unjust enrichment. Mr. Colafrancesco

brings claims under Georgia law against Defendant Key Fire Protection for breach of contract and,

in the alternative, quantum meruit, promissory estoppel, and unjust enrichment. Plaintiffs both

assert claims against Defendant Key Fire Protection for reasonable attorneys’ fees and costs

pursuant to O.C.G.A. § 13-6-11. Plaintiffs show the Court as follows:




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        NATURE OF THE ACTION AND SUMMARY OF THE ALLEGATIONS

       1.      Mrs. Colafrancesco first alleges that Defendants misclassified her as a nonexempt

employee and violated the FLSA by failing to pay her overtime wages at a rate of one-and-one-half

her regular rate of pay for all hours worked in excess of forty (40) per week. Mrs. Colafrancesco

seeks all unpaid overtime wages, liquidated damages, interest, and reasonable attorneys’ fees and

costs on her FLSA claim.

       2.      Mrs. Colafrancesco also brings five claims under Georgia law against Key Fire

Protection. First, Mrs. Colafrancesco asserts a claim for breach of contract arising from Key Fire

Protection’s failure to provide her with monthly, nondiscretionary bonuses to which she was

contractually entitled between approximately May 2019 and November 2019. In the alternative,

Mrs. Colafrancesco asserts claims for quantum meruit, promissory estoppel, and unjust

enrichment. Finally, Mrs. Colafrancesco asserts a claim for her expenses of litigation, including

reasonable attorneys’ fees and costs, pursuant to O.C.G.A. § 13-6-11.

       3.      Additionally, Mr. Colafrancesco brings five claims under Georgia law against Key

Fire Protection. First, Mr. Colafrancesco asserts a claim for breach of contract arising from Key

Fire Protection’s failure to pay him all overtime hours worked in excess of fifty (50) per week. In

the alternative, Mr. Colafrancesco asserts claims for quantum meruit, promissory estoppel, and

unjust enrichment. Lastly, Mr. Colafrancesco asserts a claim for his expenses of litigation,

including reasonable attorneys’ fees and costs, pursuant to O.C.G.A. § 13-6-11.




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                                JURISDICTION AND VENUE

       4.      Pursuant to 28 U.S.C. § 1331, this Court has federal-question jurisdiction over

Mrs. Colafrancesco’s FLSA claim.

       5.      Pursuant to 28 U.S.C. § 1367, the Court has supplemental jurisdiction over

Plaintiffs’ state-law claims because such claims relate to Plaintiffs’ employment with Defendants

and Defendants’ compensation practices, and so are related to Mrs. Colafrancesco’s FLSA claim,

that they form part of the same case or controversy.

       6.      Venue is proper in this district and division pursuant to 28 U.S.C. § 1391(b)(2) and

Local Rule 2.1 because a substantial part of the events and omissions giving rise to this Complaint

occurred within the Augusta Division of the Southern District of Georgia, where Key Fire

Protection Enterprises has its Principal Office Address, and where Defendants employed Plaintiffs.

                                           PARTIES

       7.      In approximately 2013, Mr. Colafrancesco started his employment with Defendants

as a Helper. In approximately November 2017, Defendants promoted Mr. Colafrancesco to

Service Manager, in which position he remained until he resigned on or about May 6, 2021.

       8.      Defendants employed Mrs. Colafrancesco as an Administrative Assistant from

approximately May 2019 until on or about February 21, 2021.

       9.      Key Fire Protection is a Georgia limited liability company that is licensed to

conduct business in Georgia and transacts business within the Southern District of Georgia. Key

Fire Protection may be served with process via its registered agent, “Amy Key, Joanne,” at

3200 Mike Padgett Highway, Augusta, Georgia 30906.

       10.     Key Fire Protection was Mrs. Colafrancesco’s “employer” under the FLSA at all

times relevant to this Complaint.




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       11.     Upon information and belief, Key Fire Protection had gross annual revenues in

excess of $500,000.00 at all relevant times.

       12.     Defendant Key is the founder and owner of Key Fire Protection and conducts

business in the Southern District of Georgia.

       13.     At all relevant times, Defendant Key was Mrs. Colafrancesco’s “employer” within

the meaning of the FLSA because Mr. Key: asserted control of Key Fire Protection’s day-to-day

operations; had ultimate responsibility for the supervision of Mrs. Colafrancesco; and made the

decision not to pay Mrs. Colafrancesco overtime wages, in violation of the FLSA.

       14.     At all relevant times, Defendants were employers engaged in interstate commerce

within the meaning of the FLSA, 29 U.S.C. § 207.

                                   STATEMENT OF FACTS

       15.     Key Fire Protection provides solutions and services for fire protection and security

needs, including fire-sprinkler and fire-alarm systems.

       16.     Beginning in approximately November 2017 and continuing until on or about

May 6, 2021, Defendants employed Mr. Colafrancesco as a Service Manager.               As Service

Manager, Mr. Colafrancesco’s duties included: scheduling installation and service appointments

for Defendants’ customers; taking customer calls; accepting new jobs; directing field members to

jobs; ensuring that required materials were at job sites; and coordinating with customers’ store

managers.

       17.     In approximately November 2017, Defendant Key informed Mr. Colafrancesco and

other manager-level employees of Key Fire Protection that, as salaried employees, they were

expected to work 50 hours per week.




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       18.     Defendant Key further stated that managers, including Mr. Colafrancesco, should

bill their time for hours worked in excess of 50 hours per week, where such hours were billable to

a client, for which Mr. Colafrancesco and the other managers would receive overtime pay at a rate

of one-and-one-half times their regular rate of pay (the “Overtime Agreement”).

       19.     Between approximately November 2017 and May 2019, Mr. Colafrancesco worked

approximately 50 hours per week, pursuant to Defendant Key’s directive. During that same time

period, Mr. Colafrancesco occasionally billed and was paid overtime, in accordance with the

Overtime Agreement.

       20.     In approximately April 2019, Mr. Colafrancesco secured service contracts for

approximately 1,100 grocery and Walmart stores throughout the southeastern United States.

       21.     Beginning in approximately May 2019, as a direct result of the service contracts

secured by Mr. Colafrancesco, Mr. Colafrancesco began working between 80 and 100 hours each

week to meet the increased demand.

       22.     Due to the increased demands on Key Fire Protection’s business, in approximately

May 2019, Key Fire Protection hired Mrs. Colafrancesco as an Administrative Assistant to

Mr. Colafrancesco.

       23.     Key Fire Protection initially offered Mrs. Colafrancesco a starting hourly wage of

$15.00. However, that hourly rate was significantly less than the effective hourly rate that

Mrs. Colafrancesco was then making as a schoolteacher, which job she would have to give up in

order to take the position with Key Fire Protection. Accordingly, Key Fire Protection additionally

offered Mrs. Colafrancesco a monthly, nondiscretionary bonus of $1,000.00 to ensure that she

would receive the same annual compensation that she was receiving as a schoolteacher (the “Bonus

Agreement”).




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         24.   In direct reliance on Key Fire Protection’s promise to pay her a base wage of $15.00

per hour plus monthly, nondiscretionary bonuses of $1,000.00, Mrs. Colafrancesco resigned her

position as a schoolteacher and accepted the Administrative Assistant position with Key Fire

Protection.

         25.   Mrs. Colafrancesco’s primary duties as Administrative Assistant were to complete

administrative paperwork, handle administrative billing work, and answer phone calls.

Mrs. Colafrancesco was not empowered to make, and did not make, any meaningful decisions with

respect to Key Fire Protection’s business.

         26.   Mrs. Colafrancesco was not authorized to exercise, and did not exercise, discretion

and independent judgment with respect to matters of significance at any point during her

employment with Defendants.

         27.   Between approximately May 2019 and December 2019, in violation of the Bonus

Agreement, Key Fire Protection only paid Mrs. Colafrancesco one monthly, nondiscretionary

bonus.

         28.   Mrs. Colafrancesco received the single bonus only after she complained to

Defendant Key about Key Fire Protection’s breach of the Bonus Agreement. Key Fire Protection

never provided any reason or justification to Mrs. Colafrancesco as to why it failed to pay her the

bonuses to which she was entitled under the Bonus Agreement.

         29.   Between approximately May 2019 and November 2019, Mrs. Colafrancesco

regularly worked in excess of 40 hours per week, for which she received overtime pay at a rate

equivalent to one-and-one-half times her regular rate of $15.00 per hour. However, beginning on

or about December 9, 2019, Defendants misclassified Mrs. Colafrancesco as an exempt, salaried

employee.




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       30.     Following Defendants’ decision to misclassify her as an exempt, salaried employee,

Defendants compensated Mrs. Colafrancesco at a weekly rate equivalent to 40 hours of work at

$20.00 per hour, regardless of the number of hours that Mrs. Colafrancesco worked in excess of

40 per week.

       31.     Between approximately November 2017 and May 2019, Mr. Colafrancesco

continued to occasionally report and receive overtime, in accordance with the Overtime

Agreement. However, in approximately June 2019, Defendant Key directed him to stop reporting

overtime hours.

       32.     Shortly thereafter, Mr. Colafrancesco met with Defendant Key and complained

about Key Fire Protection’s directive to no longer report overtime hours. In response, Defendant

Key told Mr. Colafrancesco that, in lieu of receiving overtime pay pursuant to the Overtime

Agreement, Mr. Colafrancesco was “working towards his future,” or words to that effect.

       33.     Defendant Key knew that Mr. Colafrancesco wanted to own his own business and

told Mr. Colafrancesco that Defendants would eventually make Mr. Colafrancesco the owner of

the service side of Key Fire Protection’s business, and, accordingly, Mr. Colafrancesco should

ignore Key Fire Protection’s failure to pay him overtime in violation of the Overtime Agreement.

       34.     In reliance on, and as a direct result of, Key Fire Protection’s promise to make

Mr. Colafrancesco a part owner of Key Fire Protection, and complying with Key Fire Protection’s

express direction to him, Mr. Colafrancesco stopped routinely submitting his overtime hours

worked in excess of 50 per week and continued to work substantial overtime hours.

       35.     Between approximately May 2019 and on or about May 6, 2021, Mr. Colafrancesco

consistently worked approximately 80 to 100 hours per week, including weekends. As part of that

work, Mr. Colafrancesco fielded roughly 100 phone calls per day, in addition to numerous emails




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and text messages. Mr. Colafrancesco often took phone calls or responded to messages late into

the night, sometimes as late as 4 AM.

       36.    Defendant Key was aware that Mr. Colafrancesco was working between 80 and

100 hours per week on average because Mr. Key was involved in Key Fire Protection’s day-to-day

activities, Mr. Key and Mr. Colafrancesco regularly communicated about business matters

throughout the day and late into the evening, and Mr. Colafrancesco regularly discussed with

Mr. Key the excessive hours that Mr. Colafrancesco was working.

       37.    In response to Mr. Colafrancesco’s complaints about the excessive number of hours

that he was working per week, Defendant Key repeatedly promised Mr. Colafrancesco that, in lieu

of the overtime to which he was contractually entitled pursuant to the Overtime Agreement, Key

Fire Protection would compensate Mr. Colafrancesco by making him a part owner of Key Fire

Protection.

       38.    After Mr. Colafrancesco agreed to forego overtime pay to which he was entitled

under the Overtime Agreement, he repeatedly asked Defendant Key when he would be made a

part owner of Key Fire Protection, including during meetings between Mr. Colafrancesco and

Mr. Key at Key Fire Protection’s office. Mr. Key consistently maintained that Mr. Colafrancesco

was “working towards his future,” or words to that effect, and that Mr. Colafrancesco would be

made a part owner in the near future if he continued to forego overtime pay.

       39.    As a direct and proximate result of Key Fire Protection’s repeated assertions that

he would soon be made a part owner of Key Fire Protection, Mr. Colafrancesco continued to forego

overtime pay to which he was entitled under the Overtime Agreement between June 2019 and

May 2021.




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       40.     Despite the extensive overtime hours Mr. Colafrancesco worked in reliance on Key

Fire Protection’s promise to make him a part owner in lieu of receiving overtime pay to which he

was entitled under the Overtime Agreement, Key Fire Protection never made Mr. Colafrancesco a

part owner of the business.

       41.     Between approximately May 2019 and February 2021, due to Key Fire Protection’s

unrelenting business needs, Plaintiffs took a total of approximately six (6) days off. Other than

those 6 days, Plaintiffs worked every day, including weekends and days when they ostensibly were

vacationing.

       42.     Between approximately December 2019 and February 2021, Mrs. Colafrancesco’s

schedule closely mirrored Mr. Colafrancesco’s because they worked closely with one another. As

a result, she worked approximately 75 to 95 hours per week.

       43.     Defendants had actual knowledge of Mrs. Colafrancesco’s hours worked via their

communications with Plaintiffs, who both effectively worked the same schedule.             These

communications included, without limitation, in-person conversations and frequent phone contact

between Plaintiffs and Defendant Key through the day, including well into the night. Plaintiffs

also regularly made statements to Defendant Key regarding the excessive number of hours that

they were working each week.

       44.     In approximately February 2021, Mrs. Colafrancesco was told that she was

temporarily laid off after Key Fire Protection’s service contract with Walmart expired and Key

Fire Protection’s business began to slow.

       45.     In approximately May 2021, after receiving no word from Key Fire Protection for

over two months, Mrs. Colafrancesco contacted Key Fire Protection to inquire about her




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employment status. That same day, Mrs. Colafrancesco received a separation notice from Key

Fire Protection that indicated that her employment had ended on or about February 21, 2021.

       46.     During this time period, in approximately April or early May 2021,

Mr. Colafrancesco realized that Defendants never intended to make him a part-owner of the

business, despite their many representations upon which he had reasonably relied, and had been

instead manipulating him into working extreme hours through promises Defendants never intended

to keep.

       47.     On or about May 5, 2021, Mr. Colafrancesco gave Defendant Key notice that he

would be resigning at the end of the week. The next day, May 6, 2021, Mr. Key informed

Mr. Colafrancesco that he did not need to report to work for the remainder of the week.

       48.     On information and belief, Defendants violated the FLSA by failing to maintain

records of Mrs. Colafrancesco’s time worked after she was misclassified as an exempt employee,

including all hours worked in excess of 40 per week.

       49.     Defendants did not compensate Mrs. Colafrancesco for all hours worked in excess

of 40 per week at the rate required by the FLSA, which is one-and-one-half her regular rate of pay.

       50.     Defendants’ failure to pay Mrs. Colafrancesco one-and-one-half her regular rate of

pay for all hours worked in excess of 40 per week was pursuant to a policy and practice of

minimizing labor costs by violating the FLSA.

       51.     Defendants’ FLSA violations were willful and not in good faith.

       52.     Defendants have acted in bad faith and caused Plaintiffs unnecessary trouble and

expense.




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                                          COUNT I
               Willful Failure to Pay Overtime Wages in Violation of the FLSA
                    (Asserted by Mrs. Colafrancesco against Defendants)

       53.     Defendants violated the FLSA by misclassifying Mrs. Colafrancesco as an exempt

employee and by failing to pay her overtime at a rate of one-and-one-half her regular rate for all

hours worked in excess of 40 per week.

       54.     At all relevant times, Mrs. Colafrancesco was engaged in commerce within the

meaning of the FLSA, 29 U.S.C. § 207.

       55.     At all relevant times, Defendants employed Mrs. Colafrancesco within the meaning

of the FLSA.

       56.     The overtime wage provisions set forth in the FLSA apply to Defendants and

protect Mrs. Colafrancesco.

       57.     Mrs. Colafrancesco regularly worked substantial hours in excess of 40 per week

from approximately December 2019 to February 2021. During this time period, she worked

approximately 75 to 95 hours per week.

       58.     Between December 2019 and February 2021, Defendants failed to pay

Mrs. Colafrancesco at one-and-one-half her regular rate of pay for all hours worked in excess of

40 per week.

       59.     As a result of Defendants’ willful failure to compensate Mrs. Colafrancesco at a

rate of one-and-one-half her regular rate for hours worked in excess of 40 per week, Defendants

violated the FLSA.

       60.     The foregoing conduct, as alleged, constitutes a willful violation of the FLSA

within the meaning of 29 U.S.C. § 255(a). Because Defendants’ violations of the FLSA were

willful, a three-year statute of limitations applies, pursuant to 29 U.S.C. § 255(a).




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       61.     Defendants did not make a good-faith effort to comply with the FLSA with respect

to their compensation of Mrs. Colafrancesco.

       62.     Due to Defendants’ willful FLSA violations, Mrs. Colafrancesco is entitled to

recover from Defendants her unpaid overtime wages for all of the hours that she worked in excess

of 40 per week, an additional and equal amount as liquidated damages, interest, and reasonable

attorneys’ fees and costs of litigation.

                                        COUNT II
                Breach of Contract—Failure to Pay Nondiscretionary Bonuses
                (Asserted by Mrs. Colafrancesco against Key Fire Protection)

       63.     The Bonus Agreement is a valid contract that is binding on Key Fire Protection.

       64.     The Bonus Agreement imposed a duty of good faith and fair dealing upon Key Fire

Protection.

       65.     Mrs. Colafrancesco fully performed under the Bonus Agreement.

       66.     Key Fire Protection promised Mrs. Colafrancesco the compensation set forth in the

Bonus Agreement, in exchange for which Mrs. Colafrancesco: resigned her position as a

schoolteacher with the understanding that the bonuses paid out pursuant to the Bonus Agreement

would ensure that her compensation with Key Fire Protection was comparable to the compensation

that she received as a teacher; accepted the position with Key Fire Protection; and performed

valuable services for Key Fire Protection.

       67.     Mrs. Colafrancesco relied upon Key Fire Protection’s compensation promises in

resigning her position as a schoolteacher, accepting the position with Key Fire Protection, and

performing valuable services for Key Fire Protection.

       68.     In breach of the Bonus Agreement, Key Fire Protection failed to pay

Mrs. Colafrancesco numerous nondiscretionary bonuses to which she is entitled.




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       69.     Key Fire Protection is liable to Mrs. Colafrancesco for breach of contract in the full

amount of the unpaid nondiscretionary bonuses, plus interest and attorneys’ fees and costs.

                       COUNT III (PLED IN THE ALTERNATIVE)
                                     Quantum Meruit
                (Asserted by Mrs. Colafrancesco against Key Fire Protection)

       70.     In the alternative, Key Fire Protection is liable to Mrs. Colafrancesco for quantum

meruit in the full amount of nondiscretionary bonuses owed to her under the Bonus Agreement,

plus interest and attorneys’ fees and costs.

       71.     In reliance on the representation by Key Fire Protection that she would be paid all

compensation owed pursuant to the Bonus Agreement, Mrs. Colafrancesco: resigned her position

as a schoolteacher with the understanding that the bonuses paid out pursuant to the Bonus

Agreement would ensure that her compensation with Key Fire Protection was comparable to the

compensation that she received as a teacher; accepted the position with Key Fire Protection; and

performed valuable services for Key Fire Protection.

       72.     The services Mrs. Colafrancesco performed for Key Fire Protection were done at

the request of Key Fire Protection, which knowingly accepted such services.

       73.     Key Fire Protection’s acceptance of Mrs. Colafrancesco’s services without

payment to her of the full amount of compensation promised pursuant to the Bonus Agreement

would be unjust.

       74.     At the time Mrs. Colafrancesco performed services for Key Fire Protection, she

expected to be paid all compensation owed pursuant to the Bonus Agreement.

       75.     At the time Mrs. Colafrancesco performed services for Key Fire Protection, Key

Fire Protection knew that she expected Key Fire Protection to pay her all compensation owed

pursuant to the Bonus Agreement.




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       76.     Key Fire Protection is liable to Mrs. Colafrancesco for quantum meruit in the full

amount owed pursuant to the Bonus Agreement, plus interest and attorneys’ fees and costs.

                       COUNT IV (PLED IN THE ALTERNATIVE)
                                   Promissory Estoppel
                (Asserted by Mrs. Colafrancesco against Key Fire Protection)

       77.     In the alternative, Key Fire Protection is liable to Mrs. Colafrancesco for

promissory estoppel pursuant to O.C.G.A. § 13-3-44 in the full amount owed pursuant to the Bonus

Agreement, plus interest and attorneys’ fees and costs.

       78.     Key Fire Protection promised Mrs. Colafrancesco that Key Fire Protection would

compensate her for services she provided by paying her compensation that included monthly

nondiscretionary bonuses.

       79.     Key Fire Protection should have reasonably expected Mrs. Colafrancesco to rely

on its promise to pay her the full compensation that she was owed under the Bonus Agreement.

       80.     In reliance on the representation by Key Fire Protection that she would be paid the

full compensation owed pursuant to the Bonus Agreement, Mrs. Colafrancesco: resigned her

position as a schoolteacher with the understanding that the bonuses paid out pursuant to the Bonus

Agreement would ensure that her compensation with Key Fire Protection was comparable to the

compensation that she received as a teacher; accepted the position with Key Fire Protection; and

performed valuable services for Key Fire Protection.

       81.     Mrs. Colafrancesco relied on Key Fire Protection’s promise to her detriment, by

resigning her more lucrative position as a schoolteacher and performing valuable services for Key

Fire Protection instead of pursuing other opportunities.

       82.     Injustice can only be avoided by enforcing Key Fire Protection’s promise to pay

Mrs. Colafrancesco the full amount of compensation owed to her pursuant to the Bonus

Agreement.


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       83.     Key Fire Protection is liable to Mrs. Colafrancesco for promissory estoppel

pursuant to O.C.G.A. § 13-3-44 in the full amount owed pursuant to the Bonus Agreement, plus

interest and attorneys’ fees and costs.

                        COUNT V (PLED IN THE ALTERNATIVE)
                                    Unjust Enrichment
                (Asserted by Mrs. Colafrancesco against Key Fire Protection)

       84.     In the alternative, Key Fire Protection is liable to Mrs. Colafrancesco for unjust

enrichment in the amount of the full compensation owed pursuant to the Bonus Agreement, plus

interest and attorneys’ fees and costs.

       85.     Key Fire Protection promised Mrs. Colafrancesco that Key Fire Protection would

compensate her for valuable services that she provided by paying her the monthly nondiscretionary

bonuses owed to her pursuant to the Bonus Agreement.

       86.     Key Fire Protection requested that Mrs. Colafrancesco perform valuable services

for its benefit, and knowingly accepted such services, with the full knowledge that

Mrs. Colafrancesco performed such valuable services because of Key Fire Protection’s promise to

pay her the full compensation owed pursuant to the Bonus Agreement.

       87.     In reliance on the representation by Key Fire Protection that she would be paid the

full compensation owed pursuant to the Bonus Agreement, Mrs. Colafrancesco performed

valuable services for Key Fire Protection and thereby conferred a benefit to Key Fire Protection.

       88.     Injustice can only be avoided by enforcing Key Fire Protection’s promise to pay

Mrs. Colafrancesco the full compensation owed pursuant to the Bonus Agreement.

       89.     Key Fire Protection is liable to Mrs. Colafrancesco for unjust enrichment in the

amount of the full compensation owed pursuant to the Bonus Agreement, plus interest and

attorneys’ fees and costs.




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                                           COUNT VI
                      Expenses of Litigation Pursuant to O.C.G.A. § 13-6-11
                   (Asserted by Mrs. Colafrancesco against Key Fire Protection)

       90.     Key Fire Protection has acted in bad faith, including, but not limited to, its breach

of the Bonus Agreement by failing to pay Mrs. Colafrancesco monthly, nondiscretionary bonuses

to which she was entitled.

       91.     In refusing to pay Mrs. Colafrancesco the money she is owed, Key Fire Protection

has caused Mrs. Colafrancesco unnecessary trouble and expense.

       92.     Pursuant to O.C.G.A. § 13-6-11, Key Fire Protection is liable for

Mrs. Colafrancesco’s expenses of litigation, including attorneys’ fees and costs.

                                          COUNT VII
                        Breach of Contract—Failure to Pay Overtime Pay
                   (Asserted by Mr. Colafrancesco against Key Fire Protection)

       93.     The Overtime Agreement is a valid contract that is binding on Key Fire Protection.

       94.     The Overtime Agreement imposed a duty of good faith and fair dealing upon Key

Fire Protection.

       95.     Mr. Colafrancesco fully performed under the Overtime Agreement.

       96.     Key Fire Protection promised Mr. Colafrancesco the compensation set forth in the

Overtime Agreement, in exchange for which he performed valuable services for Key Fire

Protection.

       97.     Mr. Colafrancesco relied upon Key Fire Protection’s compensation promises in

performing valuable services for Key Fire Protection.

       98.     In breach of the Overtime Agreement, Key Fire Protection has failed to pay

Mr. Colafrancesco overtime wages at a rate of one-and-one-half his regular rate for all hours

worked in excess of 50 per week during the relevant time period.




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       99.     Key Fire Protection is liable to Mr. Colafrancesco for breach of contract in the full

amount of the unpaid overtime pay, plus interest and attorneys’ fees and costs.

                       COUNT VIII (PLED IN THE ALTERNATIVE)
                                      Quantum Meruit
                 (Asserted by Mr. Colafrancesco against Key Fire Protection)

       100.    In the alternative, Key Fire Protection is liable to Mr. Colafrancesco for quantum

meruit in the full amount of unpaid overtime wages owed to him under the Overtime Agreement,

plus interest and attorneys’ fees and costs.

       101.    In reliance on the representation by Key Fire Protection that he would be paid

overtime compensation for hours worked in excess of 50 per week, or that he would be made a

part owner of Key Fire Protection, Mr. Colafrancesco performed valuable services for Key Fire

Protection.

       102.    The services Mr. Colafrancesco performed for Key Fire Protection, including the

substantial hours worked, were done at the request of Key Fire Protection, which knowingly

accepted such services.

       103.    At the time Mr. Colafrancesco performed services for Key Fire Protection, he

expected either to receive overtime compensation for hours worked in excess of 50 per week or to

be made a part owner of Key Fire Protection.

       104.    Due to Key Fire Protection’s failure to make Mr. Colafrancesco a part owner, and

failure to pay him overtime for hours worked in excess of 50 per week, Key Fire Protection’s

acceptance of Mr. Colafrancesco’s services without payment to him in the full amount of

compensation promised pursuant to the Overtime Agreement would be unjust.

       105.    Key Fire Protection is liable to Mr. Colafrancesco for quantum meruit in the full

amount owed pursuant to the Overtime Agreement, plus interest and attorneys’ fees and costs.




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                       COUNT IX (PLED IN THE ALTERNATIVE)
                                   Promissory Estoppel
                (Asserted by Mr. Colafrancesco against Key Fire Protection)

       106.    In the alternative, Key Fire Protection is liable to Mr. Colafrancesco for promissory

estoppel pursuant to O.C.G.A. § 13-3-44 in the full amount owed pursuant to the Overtime

Agreement, plus interest and attorneys’ fees and costs.

       107.    Key Fire Protection promised Mr. Colafrancesco that Key Fire Protection would

compensate him for valuable services that he provided by paying him overtime compensation for

hours worked in excess of 50 per week or by making him a part owner of Key Fire Protection.

       108.    Key Fire Protection should have reasonably expected Mr. Colafrancesco to rely on

its promise to pay him overtime compensation for hours worked in excess of 50 per week, or to

make him a part owner, in exchange for providing valuable services, including his performance of

substantial work hours.

       109.    In reliance on the representation by Key Fire Protection that he would be paid

overtime for hours worked over 50 hours per week, or that he would be made a part owner of Key

Fire Protection, Mr. Colafrancesco performed valuable services for Key Fire Protection, including

working substantial overtime hours.

       110.    Mr. Colafrancesco relied on Key Fire Protection’s promise to his detriment, by

performing valuable services and working substantial overtime hours for which he was not paid.

       111.    Injustice can only be avoided by enforcing Key Fire Protection’s promise to pay

Mr. Colafrancesco the substantial overtime wages that he was promised.

       112.    Key Fire Protection is liable to Mr. Colafrancesco for promissory estoppel pursuant

to O.C.G.A. § 13-3-44 in the full amount owed pursuant to the Overtime Agreement, plus interest

and attorneys’ fees and costs.




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                          COUNT X (PLED IN THE ALTERNATIVE)
                                      Unjust Enrichment
                   (Asserted by Mr. Colafrancesco against Key Fire Protection)

       113.       In the alternative, Key Fire Protection is liable to Mr. Colafrancesco for unjust

enrichment in the amount of the full compensation owed pursuant to the Overtime Agreement,

plus interest and attorneys’ fees and costs.

       114.       Key Fire Protection promised Mr. Colafrancesco that Key Fire Protection would

compensate him for valuable services that he provided by paying him overtime wages for hours

worked in excess of 50 per week, or by making him a part owner of Key Fire Protection, in

exchange for his substantial overtime hours worked.

       115.       Key Fire Protection requested that Mr. Colafrancesco perform valuable services for

its benefit, and knowingly accepted such services, with the full knowledge that Mr. Colafrancesco

performed such valuable services because of Key Fire Protection’s promise to pay him overtime

wages, or to make him a part owner, in exchange for his substantial hours worked.

       116.       In reliance on the representation by Key Fire Protection that he would be paid

overtime wages, or would be made a part owner, Mr. Colafrancesco performed valuable services

for Key Fire Protection, and thereby conferred a benefit to Key Fire Protection, by working

substantial overtime hours for which he was not paid.

       117.       Injustice can only be avoided by enforcing Key Fire Protection’s promise to pay

Mr. Colafrancesco the full compensation owed pursuant to the Overtime Agreement.

       118.       Key Fire Protection is liable to Mr. Colafrancesco for unjust enrichment in amount

of the full compensation owed pursuant to the Overtime Agreement, plus interest and attorneys’

fees and costs.




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                                         COUNT XI
                    Expenses of Litigation Pursuant to O.C.G.A. § 13-6-11
                 (Asserted by Mr. Colafrancesco against Key Fire Protection)

         119.   Key Fire Protection has acted in bad faith, including, but not limited to, its breach

of its agreement to pay Mr. Colafrancesco overtime wages for the substantial overtime hours that

he worked.

         120.   In refusing to pay Mr. Colafrancesco the money he is owed, Key Fire Protection

has caused Mr. Colafrancesco unnecessary trouble and expense.

         121.   Pursuant to O.C.G.A. § 13-6-11, Key Fire Protection is liable for

Mr. Colafrancesco’s expenses of litigation, including attorneys’ fees and costs.

                                     PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs demand a TRIAL BY JURY and entry of a judgment granting

the following relief:

         a)     A declaratory judgment that Defendants’ failure to pay overtime to

Mrs. Colafrancesco violated the FLSA;

         b)     Application of the FLSA’s three-year statute of limitations;

         c)     An award to Mrs. Colafrancesco of unpaid overtime compensation due under the

FLSA;

         d)     An award to Mrs. Colafrancesco of liquidated damages;

         e)     An award to Mrs. Colafrancesco in the full amount of nondiscretionary bonuses

that she is owed;

         f)     An award to Mr. Colafrancesco in the full amount of overtime wages that he is

owed;

         g)     An award of prejudgment and post-judgment interest on Plaintiffs’ claims;




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       h)     An award of costs and expenses of this action, together with reasonable attorneys’

and expert fees; and

       i)     Such other and further relief as this Court deems just and proper.

       Respectfully submitted this 26th day of July 2021.


                                                      /s/ C. Andrew Head
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                                                      Justin M. Scott, Lead Counsel **Pro hac
                                                      vice application to be filed**
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                                                      Counsel for Plaintiffs




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JS 44 (Rev. 08/18)                                                         CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                             DEFENDANTS
LAURA COLAFRANCESCO and FRANK ANTHONY                                                                       KEY FIRE PROTECTION ENTERPRISES, LLC and GREGG KEY
COLAFRANCESCO
  (b) County of Residence of First Listed Plaintiff Aiken County, SC                                          County of Residence of First Listed Defendant              Richmond County, GA
                                  (EXCEPT IN U.S. PLAINTIFF CASES)                                                                   (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                              NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                         THE TRACT OF LAND INVOLVED.

    (c) Attorneys (Firm Name, Address, and Telephone Number)                                                   Attorneys (If Known)

See Attachment A.


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                         III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                          (For Diversity Cases Only)                                        and One Box for Defendant)
u 1    U.S. Government                u 3     Federal Question                                                                     PTF        DEF                                          PTF      DEF
         Plaintiff                              (U.S. Government Not a Party)                        Citizen of This State         u 1        u 1      Incorporated or Principal Place       u 4     u 4
                                                                                                                                                         of Business In This State

u 2    U.S. Government                u 4     Diversity                                              Citizen of Another State          u 2    u    2   Incorporated and Principal Place    u 5     u 5
         Defendant                              (Indicate Citizenship of Parties in Item III)                                                             of Business In Another State

                                                                                                     Citizen or Subject of a           u 3    u    3   Foreign Nation                      u 6     u 6
                                                                                                       Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                             Click here for: Nature of Suit Code Descriptions.
           CONTRACT                                             TORTS                                  FORFEITURE/PENALTY                         BANKRUPTCY                    OTHER STATUTES
u   110 Insurance                        PERSONAL INJURY                PERSONAL INJURY              u 625 Drug Related Seizure          u 422 Appeal 28 USC 158          u 375 False Claims Act
u   120 Marine                       u   310 Airplane                 u 365 Personal Injury -              of Property 21 USC 881        u 423 Withdrawal                 u 376 Qui Tam (31 USC
u   130 Miller Act                   u   315 Airplane Product               Product Liability        u 690 Other                               28 USC 157                       3729(a))
u   140 Negotiable Instrument                 Liability               u 367 Health Care/                                                                                  u 400 State Reapportionment
u   150 Recovery of Overpayment      u   320 Assault, Libel &               Pharmaceutical                                                 PROPERTY RIGHTS                u 410 Antitrust
        & Enforcement of Judgment             Slander                       Personal Injury                                              u 820 Copyrights                 u 430 Banks and Banking
u   151 Medicare Act                 u   330 Federal Employers’             Product Liability                                            u 830 Patent                     u 450 Commerce
u   152 Recovery of Defaulted                 Liability               u 368 Asbestos Personal                                            u 835 Patent - Abbreviated       u 460 Deportation
        Student Loans                u   340 Marine                         Injury Product                                                     New Drug Application       u 470 Racketeer Influenced and
        (Excludes Veterans)          u   345 Marine Product                 Liability                                                    u 840 Trademark                        Corrupt Organizations
u   153 Recovery of Overpayment               Liability                PERSONAL PROPERTY                         LABOR                     SOCIAL SECURITY                u 480 Consumer Credit
        of Veteran’s Benefits        u   350 Motor Vehicle            u 370 Other Fraud              u 710 Fair Labor Standards          u 861 HIA (1395ff)               u 485 Telephone Consumer
u   160 Stockholders’ Suits          u   355 Motor Vehicle            u 371 Truth in Lending                Act                          u 862 Black Lung (923)                 Protection Act
u   190 Other Contract                       Product Liability        u 380 Other Personal           u 720 Labor/Management              u 863 DIWC/DIWW (405(g))         u 490 Cable/Sat TV
u   195 Contract Product Liability   u   360 Other Personal                 Property Damage                 Relations                    u 864 SSID Title XVI             u 850 Securities/Commodities/
u   196 Franchise                            Injury                   u 385 Property Damage          u 740 Railway Labor Act             u 865 RSI (405(g))                     Exchange
                                     u   362 Personal Injury -              Product Liability        u 751 Family and Medical                                             u 890 Other Statutory Actions
                                             Medical Malpractice                                            Leave Act                                                     u 891 Agricultural Acts
        REAL PROPERTY                      CIVIL RIGHTS                PRISONER PETITIONS            u 790 Other Labor Litigation          FEDERAL TAX SUITS              u 893 Environmental Matters
u   210 Land Condemnation            u   440 Other Civil Rights         Habeas Corpus:               u 791 Employee Retirement           u 870 Taxes (U.S. Plaintiff      u 895 Freedom of Information
u   220 Foreclosure                  u   441 Voting                   u 463 Alien Detainee                 Income Security Act                  or Defendant)                   Act
u   230 Rent Lease & Ejectment       u   442 Employment               u 510 Motions to Vacate                                            u 871 IRS—Third Party            u 896 Arbitration
u   240 Torts to Land                u   443 Housing/                       Sentence                                                            26 USC 7609               u 899 Administrative Procedure
u   245 Tort Product Liability               Accommodations           u 530 General                                                                                             Act/Review or Appeal of
u   290 All Other Real Property      u   445 Amer. w/Disabilities -   u 535 Death Penalty                  IMMIGRATION                                                          Agency Decision
                                             Employment                 Other:                       u 462 Naturalization Application                                     u 950 Constitutionality of
                                     u   446 Amer. w/Disabilities -   u 540 Mandamus & Other         u 465 Other Immigration                                                    State Statutes
                                             Other                    u 550 Civil Rights                   Actions
                                     u   448 Education                u 555 Prison Condition
                                                                      u 560 Civil Detainee -
                                                                            Conditions of
                                                                            Confinement
V. ORIGIN (Place an “X” in One Box Only)
u 1 Original             u 2 Removed from                 u 3         Remanded from             u 4 Reinstated or       u 5 Transferred from     u 6 Multidistrict                  u 8 Multidistrict
    Proceeding               State Court                              Appellate Court               Reopened                Another District             Litigation -                   Litigation -
                                                                                                                        (specify)                        Transfer                      Direct File
                                          Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                           29 U.S.C. 201 et seq.
VI. CAUSE OF ACTION Brief description of cause:
                                           Claim for unpaid overtime wages and supplemental breach-of-contract and equitable claims under Georgia law
VII. REQUESTED IN     u CHECK IF THIS IS A CLASS ACTION                                                 DEMAND $                                   CHECK YES only if demanded in complaint:
     COMPLAINT:          UNDER RULE 23, F.R.Cv.P.                                                                                                  JURY DEMAND:         u Yes      u No
VIII. RELATED CASE(S)
                       (See instructions):
      IF ANY                               JUDGE                                                                                             DOCKET NUMBER
DATE                                                                     SIGNATURE OF ATTORNEY OF RECORD
07/26/2021                                                              /s/ C. Andrew Head
FOR OFFICE USE ONLY

    RECEIPT #                     AMOUNT                                     APPLYING IFP                                      JUDGE                          MAG. JUDGE
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                         Attachment A—Attorneys for Plaintiffs


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